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                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

JUSTIN KADEEM KRUEL                                                         PLAINTIFF

V.                            CASE NO. 5:24-CV-5016

DETECTIVE JOSHUA SMITH,
Rogers Police Department;
NATHAN SMITH, Prosecuting Attorney,
Benton County, Arkansas;
BENTON COUNTY SHERIFF’S DEPARTMENT;
ASHLEY HALSEY;
JUDGE ROBIN GREENE;
JOHN DOE CORRECTIONS OFFICERS,
Benton County Detention Center; and
JOHN DOE DEPUTIES, Benton County Sheriff’s Department                  DEFENDANTS

                                       ORDER

      Now before the Court is the Report and Recommendation (Doc. 6) of the

Honorable Christy Comstock, United States Magistrate Judge for the Western District of

Arkansas. Fourteen days have passed, and no party filed objections to the Report and

Recommendation.

      The Court has reviewed this case and, being well and sufficiently advised, finds

as follows: the Report and Recommendation is proper and is hereby ADOPTED IN ITS

ENTIRETY. Accordingly, upon preservice screening, IT IS ORDERED as follows:

         •   All claims against Defendant Nathan Smith are dismissed;

         •   All claims against Defendant Greene are dismissed;

         •   All claims against Defendant Halsey are dismissed;

         •   The claim against Defendant Joshua Smith is stayed and administratively

             terminated during the pendency of Kruel’s state court criminal case; and
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          •   All claims against Defendant Benton County Sheriff’s Department are

              dismissed.

      This recommendation leaves for later resolution Kruel’s claims against the John

Doe Officers and Deputies of the Benton County Detention Center based on the

conditions under which Kruel was confined. By separate order, Kruel will be directed to

file an Amended Complaint regarding these claims.

      IT IS SO ORDERED on this 13th day of March, 2024.

                                              /s/ Timothy L. Brooks
                                              TIMOTHY L. BROOKS
                                              UNITED STATES DISTRICT JUDGE




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